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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   LUBBOCK DIVISION


FIRST BANK & TRUST,                                   §
                                                      §
                 Plaintiff,                           §
                                                      §
v.                                                    §       CASE NO. 5:18-CV-234-C
                                                      §
REAGOR AUTO MALL, LTD, d/b/a                          §
REAGOR-DYKES OF LEVELLAND and                         §
d/b/a REAGOR-DYKES IMPORTS,                           §
FIRSTCAPITAL BANK OF TEXAS, N.A.,                     §
BART REAGOR, RICK DYKES, SHANE                        §
SMITH, SHEILA MILLER, BRAD D.                         §
BURGESS, and KENNETH L. BURGESS,                      §
                                                      §
                 Defendants.                          §

______________________________________________________________________________

              DEFENDANT SHANE SMITH’S MOTION TO EXTEND
______________________________________________________________________________

TO THE HONORABLE JUDGE OF SAID COURT:

        DEFENDANT, SHANE SMITH, (hereinafter “Defendant Smith”) hereby files this Motion

to Extend pursuant to Federal Rule of Civil Procedure 6, and would respectfully show to the Court

the following:

                                           A. INTRODUCTION

        1.       On or about September 21, 2018, Plaintiff, First Bank and Trust, filed suit against

Defendants in the 72 nd District Court of Texas. [Doc. 1].

        2.       On or about September 21, 2018, Defendant FirstCapital Bank of Texas, N.A., filed

its Notice of Removal, removing the state court litigation to this Court. [Doc. 1].

        3.       As of the date of the Notice of Removal, Plaintiff had not served Defendant Smith




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with the pleading and summons.

        4.      On or about October 2, 2018, Defendant Smith was served with the Summons for

this Court and a copy of the state court pleading.

        5.      On or about October 1, 2018, this Court ordered that Plaintiff amend its pleading

by October 5, 2018, and that Defendants file their answer by October 12, 2018. [Doc. 12].

        6.      Defendant Smith now requests this Court extend the deadline to answer pursuant

to the Federal Rules of Civil Procedure, and pursuant to this Court’s discretion.

                                B. ARGUMENT & AUTHORITIES

        7.      Federal Rule of Civil Procedure 6 states that when an act may or must be done

within a specified time, the court may, for good cause, extend the time, with or without motion, if

the court acts, or if a request is made, before the original time or its extension expires. Fed. R. Civ.

P. 6(b)(1)(A). Further, a written motion and notice of the hearing must be served at least 14 days

before the time specified for the hearing, with an exception for motions that may be heard ex parte.

Since this Court may, with or without motion or notice, order the time to respond extended, this

Motion may be heard ex parte, and 14 days notice of hearing is not necessary. Fed. R. Civ. P.

6(b)-(c).

Good Cause

        8.      As stated in Rule 6(b)(1)(A), this Court may, for good cause, extend the time that

an act may or must be done with or without motion or notice if the court acts, or if a request is

made, before the original time or its extension expires. Fed. R. Civ. P. 6(b)(1)(A).

        9.      Defendant Smith would show that there is good cause to extend the deadline to

answer the Plaintiff’s Complaint to allow Defendant Smith thirty (30) days to respond from the

date of service, thereby extending Defendant Smith’s answer deadline from October 12, 2018, to




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November 1, 2018. The issues in this lawsuit are sensitive, complex, and voluminous, and will

require extensive review and research to address them, which cannot be completed by October 12,

2018, the deadline provided by this Court. [Doc. 12]. Defendant Smith is requesting this relief

prior to the deadline to answer, and filed this Motion as soon as practicable. Defendant Smith does

not seek this relief to harass or cause unnecessary delay. Defendant Smith therefore requests that

this Court, for good cause, extend the deadline to November 1, 2018. Said extension is reasonable,

and will not prejudice Plaintiff or the other defendants.

21-Days’ Notice

        10.     In the alternative, Rule 81(c) of the Federal Rules of Civil Procedure provides that

upon removal, defendants that have not been served in the underlying state court proceeding are

entitled to the longer of: (1) 21 days after the defendant receives a copy of the state-court pleading;

(2) 21 days after service of the summons for the state court pleading; or (3) 7 days after the notice

of removal is filed. Fed. R. Civ. P. 81(c)(2).

        11.     Here, Defendant Smith did not receive a copy of the state-court pleading until he

was served with the suit through this Court on October 2, 2018. The notice of removal was filed

on September 21, 2018. Defendant Smith would therefore ask for the longer response period of

21-days from the date of service, making Defendant Smith’s Answer due on October 23, 2018.

        WHEREFORE, PREMISES CONSIDERED, Defendant Smith requests this Court grant

this Motion to Extend, thereby extending Defendant Smith’s deadline to answer the Plaintiff’s

Complaint to November 1, 2018, or the alternative, to October 23, 2018, and for such other relief,

both at law and in equity, to which he may have shown himself entitled.




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                                              Respectfully submitted,

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                                                 HAWTHORNE & AYCOCK, P.C.
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                                              By: /s/ Robert A. (Andy) Aycock
                                                Robert A. (Andy) Aycock
                                                State Bar No. 00789782
                                                Joshua D. Frost
                                                State Bar No. 24097711

                                              ATTORNEYS FOR DEFENDANT
                                              SHANE SMITH


                               CERTIFICATE OF CONFERENCE

         I, Joshua D. Frost, certify that on October 3, 2018, a telephone conference was held by and
between the undersigned and Katy Hart with regard to whether Plaintiff’s counsel opposed the
relief requested in the foregoing Motion. Ms. Hart stated that they are not opposed to the relief
requested in the foregoing Motion.

                                                      /s/ Joshua D. Frost
                                                     Joshua D. Frost




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                                   CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing instrument has been
served on the following listed party through the ECF Electronic Notification System on this 4th
day of October 2018.

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                                                      /s/ Robert A. (Andy) Aycock
                                                     Robert A. (Andy) Aycock




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